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  Sage Legal LLC
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                                                                               April 29, 2025
  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. Taryn A. Merkl, U.S.M.J.
  225 Cadman Plaza East
  Courtroom 13D South
  Brooklyn, NY 11201-1804

         Re:     Hernandez v. Happy Street LLC, et al.
                 Case No.: 1:22-cv-6918 (DG) (TAM)___

  Dear Judge Merkl:

          This firm represents the Defendants in this case, who respectfully submit this letter
  response to the Plaintiff’s letter earlier today. While Defendants cannot force Plaintiff to settle,
  Plaintiff’s letter is misguided in that he believes we can proceed to a final pre-trial conference.
  Defendants’ anticipated Rule 12(c) and 56 motion remains pending, which must be decided before
  Plaintiff can hope to darken this Court’s door with a demand to proceed to trial.

           While your undersigned is fully prepared to proceed with the virtual settlement conference
  as Ordered by this Court, I am required to inform this Court that Defendants’ principal is
  disheartened by Plaintiff’s conduct and cavalier attitude towards a good faith resolution. My client
  has asked me to submit a supplemental ex parte settlement statement that he, himself, drafted to
  share his views on the posture of this case and his ability to settle. I have reviewed its contents
  and represent to the Court that it may be helpful in potentially reaching a resolution. In view of
  same, your undersigned is aware that it is within the Court’s discretion to determine whether: (i)
  the settlement conference should be cancelled or proceed; (ii) the individual Defendant’s presence
  is required at any such conference; and (iii) this Court should consider the supplemental ex parte
  settlement statement. Defendants thank this honorable Court for its time and attention to this case.

   Dated: Jamaica, New York
          April 29, 2025                            Respectfully submitted,
                                                    SAGE LEGAL LLC
                                                    By: /s/ Emanuel Kataev, Esq.
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                                                    Happy Street Too LLC, and
                                                    Slobodan Radivojevic a/k/a Bob Radivojevic
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  VIA ECF
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